 1                                                         HONORABLE JAMAL N. WHITEHEAD

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 7                         UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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     MAYTRONICS, LTD.,
 9                                                         Case No. 2:23-cv-01406-JNW
                                        Plaintiff,
10
            v.                                             ORDER GRANTING STIPULATED
11                                                         MOTION FOR EXTENSION OF TIME
     CHASING INNOVATION TECHNOLOGY                         TO RESPOND
12   CO., LTD. and CHASING TECHNOLOGY
     (USA), LLC,
13
                                     Defendants.
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15          This matter came before the Court on the Parties Stipulated Motion for Extension of

16   Time to Serve Preliminary Non-Infringement and Invalidity Contentions. The Court having
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     reviewed the pleadings and considered the files and records herein,
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            IT IS HEREBY ORDERED that the Stipulated Motion for Extension of Time to Serve
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     Preliminary Non-Infringement and Invalidity Contentions is GRANTED.                      Defendants’
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     deadline to serve Preliminary Non-Infringement and                 Invalidity Contentions and
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22   accompanying document production is extended to February 27, 2024.

23          DATED this ____
                       26th day of __________,
                                   February    2024.
24

25                                                   Jamal N. Whitehead
                                                     United States District Judge
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     ORDER GRANTING STIPULATED MOTION FOR EXTENSION OF                         STOKES LAWRENCE, P.S.
                                                                                1420 FIFTH AVENUE, SUITE 3000
     TIME TO RESPOND - 1
                                                                               SEATTLE, WASHINGTON 98101-2393
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                                                  Technology Co., Ltd. and Chasing
16                                                Technology (USA), LLC

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     ORDER GRANTING STIPULATED MOTION FOR EXTENSION OF                  STOKES LAWRENCE, P.S.
                                                                         1420 FIFTH AVENUE, SUITE 3000
     TIME TO RESPOND - 2
                                                                        SEATTLE, WASHINGTON 98101-2393
